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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANISSA LYNNET JONES,

Plaintiff,                                            Case No. 1:16-cv-08938

        v.
                                                      Honorable Judge Rebecca R. Pallmeyer
COMENITY BANK,

Defendant.


                                   NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that ANISSA LYNNET JONES (“Plaintiff”), hereby notifies

the Court that the Parties have settled all claims between them in this matter and are in the

process of completing the final closing documents and filing the dismissal. The Parties anticipate

this process to take no more than 60 days and request that the Court retain jurisdiction for any

matters related to completing and/or enforcing the settlement. The Parties propose to file a

stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

pray the Court to stay all proceedings until that time.



Respectfully submitted this 8th day of March, 2017.

                                                             Respectfully submitted,

                                                             s/ Nathan C. Volheim
                                                             Nathan C. Volheim
                                                             Sulaiman Law Group, Ltd.
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                                                             Attorney for Plaintiff



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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim




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